          Case: 22-55265, 05/04/2023, ID: 12708945, DktEntry: 47, Page 1 of 1




                UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
  Form 32. Response to Notice of Case Being Considered for Oral Argument
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form32instructions.pdf

9th Cir. Case Number(s) 22-55265 and 22-55296

Case Name Mosafer, Inc. et al. v. Elliott Broidy and George Nader et al.

Hearing Location (city) Pasadena

Your Name Courtney R. Forrest

List the sitting dates for the three sitting months you were asked to review:
August 14-18, 21-25; September 11-15; October 2-6, 16-20



Do you have an unresolvable conflict on any of the above dates?                                Yes      No

If yes, list the specific day(s) and the specific reason(s) you are unavailable:
I am unavailable on August 14-18 and 21-25. I will be on a previously scheduled
sabbatical from my firm from June 26 through August 21, and will be unable to
prepare for any of the August dates. I argued the motion to dismiss below and
was primary author of Mr. Nader's answering brief. No one else at my firm is
sufficiently familiar with the issues to take my place at oral argument.

Do you have any other cases pending in this court for which you received a notice
of consideration for oral argument during the three sitting months listed above?
    Yes       No

If yes, list the number, name, and hearing city of each of the other case(s):




Signature s/ Courtney R. Forrest                                       Date 5/04/2023
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 32                                                                                        New 12/01/2018
